       Case 2:22-cv-00272-TOR           ECF No. 50   filed 05/03/24   PageID.1164 Page 1 of 5




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 8
 9
10                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF WASHINGTON
11                                      AT SPOKANE
12 FAYE IRENE GUENTHER,
   an individual,
13                                                       No. 2:22-cv-00272-TOR
                          Plaintiff,
14                                                        DECLARATION OF
         v.                                               SARA A. FAIRCHILD IN
15                                                        SUPPORT OF
   JOSEPH H. EMMONS, individually,
16 AND OSPREY FIELD CONSULTING                            DEFENDANTS’ MOTION
   LLC, a limited liability company,                      REGARDING SEALING
17
                          Defendants.
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19

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23 FAIRCHILD DECL. ISO DEFS’ MOTION
     REGARDING SEALING
                                                                             Davis Wright Tremaine LLP
     Case No. 2:22-cv-00272-TOR                                                       L AW O FFICE S
     4862-6741-7274v.1 0119896-000001                                           920 Fifth Avenue, Suite 3300
                                                                                  Seattle, WA 98104-1610
                                                                           206.622.3150 main · 206.757.7700 fax
     Case 2:22-cv-00272-TOR             ECF No. 50   filed 05/03/24   PageID.1165 Page 2 of 5




 1            I, Sara A. Fairchild, declare:
 2            1.        I am an attorney in the law firm Davis Wright Tremaine LLP, counsel
 3   for Defendants Joseph H. Emmons and Osprey Field Consulting LLC. I make this
 4   declaration from personal knowledge and a review of the files and records in this
 5   matter.
 6            2.        United Food and Commercial Workers Union Local 3000 (“UFCW
 7   3000”) and Eric Renner produced documents in this litigation pursuant to the Court’s
 8   February 14, 2024, Order (ECF No. 38) (“Order”). Defendants deposed three
 9   witnesses—Adam Jackson, Laurel Fish, and Alex Garcia—whose testimony also
10   may be subject to the Order. Plaintiff later produced the same documents UFCW
11   3000 produced under the Order.
12            3.        The documents UFCW 3000 produced included six agreements
13   containing non-disclosure provisions (“NDAs”).
14            4.        On May 2, 2023, I emailed the following parties to the NDAs to request
15   their permission to file publicly certain documents that may be subject to the NDAs:
16                       UFCW 3000, through Plaintiff’s counsel
17                       Eric Renner, through counsel Bill Gilbert at Gilbert Law Firm P.S.
18                       Teamsters 690, through counsel David Ballew at Reid, Ballew,
19                          Leahy & Holland LLP
20                       Adam Jackson
21                       Laurel Fish
22                       Alex Garcia
23                       Leslie Cowin
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 1                       Katie Dugger
 2                       Amy Poston
 3                       Austin DePaolo
 4                       Sandra Huggins
 5            5.         In my email to each party, I provided a copy of all material Defendants
 6   intended to file to support their Response to Plaintiff’s Motion to Dismiss Under
 7   Rule 41(a)(2) that may be subject to that party’s NDA (or NDAs), and I asked the
 8   party for their permission to file that material publicly. I also provided each party
 9   with a copy of the Court’s February 14, 2024, Order (ECF No. 38).
10            6.        At the time of this filing, not all parties have consented to disclosure of
11   the material Defendants wish to file to support their Response to Plaintiff’s Motion
12   to Dismiss Under Rule 41(a)(2) that may be subject to the NDAs.
13            I declare under penalty of perjury that the foregoing is true and correct.
14            Executed on May 3, 2024, in Seattle, Washington.
15
                                                      s/ Sara A. Fairchild
16                                                    Sara A. Fairchild

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 1                                      CERTIFICATE OF SERVICE

 2            I hereby certify that on May 3, 2024, I caused the document to which this
     certificate is attached to be electronically filed with the Clerk of the Court using
 3
     the CM/ECF system which will send notification of such filing to the following:
 4
      Aaron Streepy
 5    Jim McGuinness
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      jim@mcguinnessstreepy.com
 8
      Attorneys for Plaintiff Faye Guenther and United
 9    Food and Commercial Workers Union Local 3000
10
              I further certify that on the same date, I caused the same document to be
11   served by email and mail to the following:
12
     Bill Gilbert
13   Gilbert Law Firm, P.S.
     421 W. Riverside, Ste 353
14   Spokane, WA 99201
     bill@wagilbert.com
15   Attorney for Eric Renner
16   David W. Ballew
     Reid, Ballew, Leahy & Holland L.L.P.
17   100 West Harrison Street
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18   Seattle, WA 98119
     david@rmbllaw.com
19   Counsel for Teamsters Local 690
20   Adam Jackson
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22   Spokane, WA 99208
     Adamyjackson1@gmail.com
23
     FAIRCHILD DECL. ISO DEFS’ MOTION
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17   Spokane, WA 9920
     Laurel.fish@gmail.com
18
     Alex Garcia
19   1503 South Rockwood Blvd
     Spokane, WA 99203
20   Ajgarcia2147@gmail.com
21            I declare under penalty of perjury that the foregoing is true and accurate.
22            DATED this 3rd day of May, 2024.
                                        By: s/Sara A. Fairchild
23                                           Sara A. Fairchild, WSBA #54419
     FAIRCHILD DECL. ISO DEFS’ MOTION
     REGARDING SEALING                                                       Davis Wright Tremaine LLP
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